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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLORADO



QUENT SCAGGS,
]        Case No. 18-cv-1784
                                               ]
Applicant                                      ]
                                               ]
v.                                             ]
                                               ]      Petition for habeas corpus
RICK RAEMISCH Exec Director                    ]
Colorado Dept of Corrections                   ]      Pursuant to 28 U.S.C.
CYNTHIA COFFMAN,                               ]      section 2254
Attorney General, State of Colorado,           ]
MATTHEW HANSEN, warden SCCF                    ]
Respondents.                                   ]

__________________________________________________________________

APPLICATION FOR A WRIT OF HABEAS CORPUS
PURSUANT TO 28 U.S.C. § 2254
BY A PERSON IN STATE CUSTODY
__________________________________________________________________


      The Applicant, Quent Scaggs, by and through his Counsel counsel, hereby

submits her Application for Writ of Habeas Corpus.

I.    JURISDICTION AND CONVICTION UNDER ATTACK

      The Petition is filed pursuant to 18 U.S.C. section 2244(d)(1).


      1.     Mr. Scaggs challenges his conviction in Denver County District Court case

number 2008CR5518.


      2.     Aaron Garcia (“A.G.”) was shot and killed in a car by a lone gunman he

knew only as “Scar.” Mr. Scaggs was charged with this homicide. Following trial, Mr.

Scaggs was convicted of Murder in the First degree-after deliberation, felony murder,

second degree kidnapping, aggravated robbery, and two habitual criminal counts. He

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was acquitted of an additional count of second degree kidnapping. He was sentenced

to life without parole plus 96 years imprisonment.         Mr. Scaggs appealed to the

Colorado Court of Appeals (10CA1353), and his conviction and sentence were affirmed.


       On his direct appeal, Mr. Scaggs’ Petition for Writ of Certiorari to the Colorado

Supreme Court was denied on March 11, 2013. Ninety days after that date was June

10, 2013. Therefore, any Petition for Writ of Certiorari was due to the US Supreme

Court on June 10, 2013 (the day the federal one year clock was tolled on the 193rd day).


       Mr. Scaggs filed his Rule 35(c) motion on December 19, 2013, which was

denied.     Mr. Scaggs appealed, and the Colorado Court of Appeals affirmed.           Mr.

Scaggs’ Petition for Writ of Certiorari was denied on January 22, 2018 (the date the

federal one year clock restarted with 172 days left on the clock).


       3.      A “properly filed application for state post-conviction or other collateral

review” tolls the period. 28 U.S.C. § 2244(d)(2). A properly filed motion under either

Colo. R. Crim. P. 35(b) or 35(c) tolls the limitations period. Robinson v. Golder, 443

F.3d 718, 721 (10th Cir. 2006). Therefore, this Petition is timely filed on day 365.


II.    FACTS

       On October 30, 2008, at about 7:30 p.m., J.R. picked up A.G. to go to the payday

loan store in Stapleton. 4-8-10 pp. 8-10, 12-13. A.G. was on his cell phone with a drug

dealer he knew as “Scar” (and who J.R. later identified as Mr. Scaggs). Scar came out

of a house on Leyden Street, between 35th and 36th streets, and got in the back

passenger seat behind A.G. J.R. soon heard the clicking of a gun and then Scar yelled

at him to pull over, so he did. Scar patted them down and then told them to drive to the

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Walmart. Scar asked for the money and A.G. told him that a friend at Walmart had it.

In the parking lot, A.G. started to get out of the car, telling Scar that he was going to get

the money, but Scar yelled at him to get back in the car, hit him in the head with the

gun, and demanded the money. J.R. took off running as Scar drove away. Later, A.G.

was found dead in the car.


        In his initial contact with the police, J.R. gave them a description but left out the

part about buying drugs. J .R. said the man used a revolver, and wore dark jeans, a red

tee shirt with short sleeves and a black “doo rag.” The police took him to view some

people they had detained. According to J.R., the clothes the first person was wearing

matched, but he was not so sure about the face. They then took him to view two other

people. One of those two looked more like the shooter but he was wearing different

clothes; the other one was definitely not the person.            J.R. was not completely

forthcoming. He did not tell the police that they were looking to buy drugs until he found

out A.G. had died. He did not tell the police money was actually hidden in the car

because there were two ecstacy pills there also. Id. p. 41. The following day he was

shown a photo array and he told the detective that number 4 (Mr. Scaggs) “looked like

him.”


        Lora Stewart, a Walmart customer, looked at the car when she heard a “pop.” As

somebody from the backseat climbed over to the front seat to drive off, she noticed that

he was a bigger guy because his legs were long and he was having a hard time getting

from the back to the front seat.


        Denver Police patrol officer Daniel Andrews was dispatched to go to the area of


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3341 Oneida, the home of a possible suspect (Dontae Carter) who may have been

involved at an automobile theft at Walmart. Carter’s name came up because the name

moniker “Scar” was run through the gang data base and it came back to Dontae Carter.

He did not see anything so he returned to patrolling. He then received a dispatch about

an automobile theft at the Walmart, ands another possible suspect (Dontae Carter) with

an address of 3341 Oneida so he went to the area. Officer Andrews saw the stolen

vehicle in the alley of the 3600 block between Newport and Oneida.


       Officer Christopher Parker searched the neighborhood the following day for

evidence. He observed a broken window in a vacant house at 3670 Newport. He

looked in and saw a gun on the ledge. That gun was later identified as the murder

weapon. DNA analysis on the barrel of the gun revealed a mixture – the major source

was A.G. , the minor source an unknown female. Mr. Scaggs was excluded as a

contributor. On the grip, there also was a mixture– the major source was A.G., and

there were two minor sources– one female and one male. Mr. Scaggs could not be

excluded as a contributor but it was very weak (only three out of thirteen alleles).


       In a tree in the front yard, about twenty feet up, there was a red shirt and a “do

rag.” DNA from this “do rag” was a mixture and Mr. Scaggs could not be excluded. On

the red tee shirt, the major source of the blood matched the DNA of the victim, A.G. On

the bottom of the shirt there was a mixture of semen and saliva. The semen matched

Mr. Scaggs, and the saliva was an unknown female.


       The number that A.G. was calling during the time immediately before he was

shot was traced to a cell phone belonging to Jordan Kimble. Mr. Kimble gave various


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accounts of how his cell phone could have been involved, initially telling the police that

he left his phone on a bus but eventually giving a different account. Mr. Kimble testified

that a few days prior to the October 30, 2008 incident, he had met Mr. Scaggs at a gas

where Mr. Scaggs offered to sell him some marijuana. About 30 minutes later he met,

Mr. Scaggs in an alley at 36th and Leyden Street. Mr. Scaggs asked to use his phone,

but when he handed it over, Mr. Scaggs pulled out a gun and demanded money.


       Officer Mulhern stopped Mr. Scaggs and Ivan Maxwell in a park near the scene

of the shooting. Mr. Scaggs was patted down for weapons and ordered to sit on the

curb. Other officers arrived, and Mulhern ran Mr. Scaggs through NCIC. There were at

least five officers present at the park during Mr. Scaggs’ detention. He was in handcuffs

because he was being detained pending further investigation – according to an officer

(not Officer Hancock). Officer Hancock testified that, when he arrived at the park, no

one was with Mr. Scaggs. The officer stated that Mr. Scaggs was sitting on the police

car when he arrived.     The officer, testified that after he told Mr. Scaggs that the

detectives wanted him to go down to the police station Mr. Scaggs agreed to go and he

relayed this information to the detectives.     He could not recall if Mr. Scaggs was

handcuffed, because it was dark and Mr. Scaggs was in the back of the police car.


       After the show up, Mr. Scaggs was detained further and transported to a secure

area of the police station where he was eventually swabbed for gun short reside, at

which time the handcuffs were removed. The Officer initially made contact with Mr.

Scaggs at 10:00 p.m. and at 2:30 a.m. he was relieved by Officer Torgeson (testimony

of Officer Urlock).



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      At 5 a.m., Detective Campbell interviewed Mr. Scaggs on videotape for about 12

minutes. The detective asked Mr. Scaggs about his whereabouts the previous evening.

After initially answering a few questions, Mr. Scaggs stated that he did not wish to

answer any further questions and eventually asked for an attorney. He was told that if

he wanted to remove himself as a suspect he should talk. Mr. Scaggs respectfully

declined to talk and asked for an attorney. He was told that because he was not read

his rights he was not entitled to an attorney. The detective continued the interview.

Whenever Mr. Scaggs indicated he had nothing to say, the detective continued with the

questions.   Mr. Scaggs filed a motion to suppress the statements he made during this

interview. The Denver District Court made the following ruling:


      Pursuant to People v. Polander, 41 P.3d 698 (Colo. 2001), the test for

determining whether an individual is in custody thus triggering Miranda, was not

whether he was free to leave but rather whether such a person would believe he was in

police custody to the degree associated with arrest rather than a brief investigatory

detention. There was reasonable suspicion for the initial stop of Mr. Scaggs and Mr.

Maxwell, and the “mere” placing of handcuffs on an individual did not “change the

nature or the contact to an arrest,” since it was reasonable to place Mr. Scaggs and the

other individual in handcuffs for “officer safety.” The handcuffs remained on Mr. Scaggs

until his hands were swabbed at the police station.


      Relying on Officer Hancock’s testimony, the Denver District court found that while

still in handcuffs, Mr. Scaggs was asked by the Officer if he would go downtown and Mr.

Scaggs “agreed.” The court ruled that there was a Terry v. Ohio, 392 U.S. 1 (1968)

type detention until the handcuffs were removed at the police station, and after that, Mr.

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Scaggs’ continued presence at the police station (presumably for the next six plus

hours) was voluntary and he was no longer in detention. The Denver District court

found that although the fact that he was released or that he did not think he was under

arrest was not determinative, it was a factor when considering the totality of the

circumstances along with whether the interview was accusatory or confrontive (the court

said it was not). Ultimately the court concluded that because the detective told him he

was not under arrest, he was not in custody and Miranda was not triggered.


      Mr. Scaggs also moved to suppress his identification made by the suggestive

photo array – another motion the Denver District Court denied.


      At the show-up, approximately ten blocks from where the crime occurred, J.R.

ruled out Mr. Maxwell as the perpetrator but said it was possible that Mr. Scaggs was

the perpetrator. The following day, when shown five “filler” photographs and a

photograph of Mr. Scaggs, again he said that Mr. Scaggs maybe the individual. By the

time the case went to trial, J.R. was no longer equivocal. He testified that Mr. Scaggs

was the individual who shot his friend.


      According to J.R., he was driving and Aaron was in the passenger seat. There

was a street light near where he picked up the man they called “Scar” or “Scarface.”

This man sat in the backseat as J.R. drove for ten blocks to the WalMart.The entire

incident, from when they picked up the individual until his friend wasshot and J.R. took

off running lasted approximately 20 minutes. Officer Mercado testified at the motions

hearing that J.R. told her that the robber was a black male, between 5'8" and 5'11" who

used the name Scar or Scarface. She ran the name Scarface in the NCIC and CCIC


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data base and it came back as a moniker used by an individual named Dontae Carter.

She took J.R. over to the 3600 block of Oneida where his white Grand Am had been

found. She told him that they had a possible suspect in custody. That suspect was

taken out of the back of a police cruiser, and a spot light was shined on him. From the

backseat of Officer Mercado’s police cruiser, J.R. said that it was possibly him (the

clothing matched) but he was not sure. The officer then took J.R. to see Mr. Scaggs

and Mr. Maxwell, who were in custody in the 3900 block of Newport.             The same

procedure was used. J.R. said it was possible but he was not certain as to the first (this

was Mr. Scaggs) but definitely not as to the second (Mr. Maxwell).


      Detective Larry Moore met with J.R. the following day.           According to the

detective, when asked, J.R. told him he did not see a scar on the person who shot his

friend and did not see a scar on any of the persons he saw the night before. He asked

him this because the name Scarface kept coming up,and because Mr. Scaggs has a

scar on his face. The detective testified that when he spoke with J.R. the following day

hetold him that the suspect in the first location had the right clothes but was not the

person; J.R. said that he could not clearly see his face during the show-up, because the

suspect was too far away but he could see that he was wearing the same thing.


      As for the show up in the second location – the one involving Mr. Scaggs –the

first person (Scaggs) looked like the person but had on different clothes; andthe second

person (Maxwell) was definitely not involved. Id., pp. 25-26. The next day, J.R. said the

second person (Maxwell) definitely was not the person, but the second (Scaggs) looked

more like the person than the first one (suspect in first show-up).        The detective

acknowledged that Officer Mercado’s report indicated that J.R. was uncertain as to

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whether it was the first individual or the second individual, and he further acknowledged

that J.R. was not certain as to whether the second individual was in fact involved.


       The following day J.R. contacted the police and told them that if they showedhim

some photographs, he could probably identify the person. He was shown an array that

included Mr. Scaggs in the number 4 position.        He circled number 4 and told the

detective that it might be the person. When asked about his level of certainty he said he

was more certain than not. When the trial took place some 18 months later, J.R.’s level

of certainty changed from maybe to definitely.        The Alaska Court of Appeals, in

Tegoseak v. State, 221 P.3d 345, 362 (Alaska App. 2009) noticed the same

phenomenon in that case. The Court suggested that this was arguably an example of

the kind of altered memory and altered certainty described in the research literature. Id.


       The Denver Court ruled that while the photo lineup itself was not suggestive, it

had to consider the previous show up and the fact that the individual in the show up (Mr.

Scaggs) was also in the photo array.       The court listed the five factors it used to

determine if there was a sufficient basis for making an identification. Ibid. The court

ruled that there was a sufficient independent basis, because J.R. saw the individual

when he walked up to the car; when the search for weapons happened he was a foot

away from him; he was right there when his friend was pistol whipped and the lighting

was adequate. The court placed no weight on the uncertainty of the identification. Ibid.


III.   STANDARD OF REVIEW

       A state prisoner seeking federal habeas corpus relief after April 24, 1996, the

effective date of the Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA),


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must meet the provisions of the Act. Lindh v. Murphy, 521 U.S. 320, 327,117 S. Ct.

2059 (l997); Hain v. Gibson, 287 F.3d 1224, 1229 (l0th Cir. 2002) (citing Wallace v.

Ward, 191 F.3d 1235, 1240 (l0th Cir. 1999), cert. denied, 530 U.S. 1216 (2000)).

      Under the AEDPA, a habeas petitioner in state custody is entitled to relief if the

decision of the state courts resolving the claim against him “was contrary to, or involved

an unreasonable application of, clearly established Federal law, as determined by the

Supreme Court of the United States,” or “was based on an unreasonable determination

of the facts in light of the evidence presented in the State court proceeding.” 28 U.S.C.

Section 2254(d)(l), (2); Williams v. Taylor, 529 U.S. 362, 402-03, 120 S. Ct. 1495, 1518

(2000); see also Van Woudenberg v. Gibson, 211 F.3d 560, 566 (l0th Cir. 2000), cert.

denied, 531 U.S. 1161 (2001); LaFevers v. Gibson, 182 F.3d 705, 711 (l0th Cir. 1999).

      A state court’s decision is “contrary to” established federal law as determined by

the Supreme Court “if the state court arrives at a conclusion opposite to that reached by

this Court on a question of law or if the state court decides a case differently than this

Court has on a set of materially indistinguishable facts.” Williams, 529 U.S. at 405-06,

120 S. Ct. at 1523; Van Woudenberg v. Gibson, 211 F.3d at 566.

      A state court’s decision involves an “unreasonable application of” Supreme Court

or Tenth Circuit precedent “if the state court identifies the correct governing legal

principle from this Court’s decisions but unreasonably applies that principle to the facts

of the prisoner's case.” Williams, 529 U.S. at 407, 120 S. Ct. at 1513; Van Woudenberg

at 566.

      A state court’s decision is “based on an unreasonable determination of the facts

in light of the evidence presented” where, for example, the state court’s recitation of


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factual circumstances supporting its ruling is unsupported by the record. See, e.g.,

Paxton v. Ward, 199 F.3d 1197, 1210-11 (l0th Cir. 1999) (reversing state's denial of

relief under section 2254(d)(2) where state court admitted hearsay as excited utterance

based on child declarant’s presence at shooting, declarant's “short” possible exposure

to adults who “may or may not have been talking about the shooting,” and declarant not

having slept between event and statement, but record showed child did not recall

whether she witnessed shooting or heard about it, exposure to adults was for “a

considerable period,” adults did discuss the shooting, and evidence permitted inference

that child had slept between event and statement). See also Williamson v. Ward, 110
                               th
F.3d 1508, 1513 n.6, n.7 (10 Cir. 1997) (noting in pre-AEDPA case that the Court

would find unreasonable determination of facts under section 2254(d)(2) of AEDPA

where state court's decision was “undermined by factual assertions that are

contradicted by the State's own evidence”).

      Though habeas relief may not be grounded in the jurisprudence of inferior federal

courts, such case law is relevant to whether a state court's resolution of the federal

claim is “contrary to” or “involved an unreasonable application of” Supreme Court

precedent. E.g., Bryson v. Ward, 187 F.3d 1193, 1205 (l0th Cir. 1999) (citing O'Brien v.

DuBois, 145 F.3d 16, 21,25 (lst Cir. 1998)).

      The Sixth Amendment to the United States Constitution, made applicable to the

states by the Fourteenth Amendment, provides, in pertinent part, that “[i]n all criminal

prosecutions, the accused shall enjoy the right . . . to have the Assistance of Counsel

for his defense.”   United States Constitution amendments VI, XIV.        Because the

assistance of counsel is necessary to protect the fundamental right to a fair trial, the


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Supreme Court has long recognized that “the right to counsel is the right to the effective

assistance of counsel.” McMann v. Richardson, 397 U.S. 759, 771 n.l4 (1970) (citing

Powell v. Alabama, 287 U.S. 45, 57 (1932)); Osborn v. Shillinger, 861 F.2d 612,624

(10th Cir. 1988).

       The constitutional right to effective assistance of counsel includes the right to

have an attorney acting as a diligent and conscientious advocate.               Strickland v.

Washington, 466 U.S. 668 (1984); United States v. Cronic, 466 U.S. 648 (1984); Powell

v. Alabama, 287 U.S. 45 (1932); People v. Davis, 871 P.2d 769 (Colo. 1994).

       In Strickland v. Washington, 466 U.S. 668 (1984), the Court created the now

well-known two prong analysis for review of ineffective assistance claims.          The court

must first determine whether “in light of all circumstances, the identified acts or

omissions were outside the wide range of professionally competent assistance.” Id. at

690. To be afforded relief, the accused must then show that the deficient representation

somehow prejudiced the defense. Id. at 687. To prove prejudice, Mr. Armelino must

show “that counsel's errors were so serious as to deprive Mr. Armelino of a fair trial, a

trial whose result is reliable.” Id. at 687. In order to establish the requisite prejudice, the

accused need only show that there “is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have been different.” Id. at

694.

       The accused need not demonstrate that he would have been acquitted “but for”

the performance of his trial counsel. To the contrary, he must only demonstrate “a

probability sufficient to undermine confidence in the outcome.” Id. at 694.




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       This constitutional guarantee is violated when an attorney’s performance falls

below an objective standard of reasonableness as informed by prevailing professional

norms, and there is a reasonable probability that, but for counsel's unprofessional

errors, the result of the proceeding would have been different. Strickland v. Washington,

466 U.S. at 687-88, 694; United States v. Haddock, 12 F.3d 950 (10th Cir. 1993); see

also Williams v. Taylor, 529 U.S. at 390-91; Kimmelman v. Morrison, 477 U.S. 365, 382,

106 S. Ct. 2574 (1986) (adopting Strickland test as appropriate standard for measuring

ineffective assistance of counsel claims raised in habeas proceedings). A reasonable

probability is a probability sufficient to undermine confidence in the outcome. Strickland,

466 U.S. at 694.

       In Strickland v. Washington, 466 U.S. 668 (1984), the U.S. Supreme Court noted,

“[S]trategic choices made after thorough investigation of law and facts relevant to

plausible options are virtually unchallengeable; choices made after less than complete

investigation are reasonable precisely to the extent that reasonable professional

judgments support the limitations on investigation.” Id. at 690-91. “Consequently, even

where an attorney pursued a particular course of action for strategic reasons, courts still

consider whether that course of action was objectively reasonable, notwithstanding

Strickland’s strong presumption in favor of upholding strategic decisions.” Bullock v.

Carver, 297 F.3d 1036 (10th Cir. 2002); see also Garrett v. Gibson, 282 F.3d 1283, 1296

(10th Cir. 2002) (“mere incantation of ‘strategy’ does not insulate attorney behavior from

review”); Phoenix v. Matesanz, 233 F.3d 77, 82 n.2 (1st Cir. 2000) (“‘virtually

unchallengeable’ does differ from ‘unchallengeable,’” and the test is whether challenged

acts or omissions were outside range of competent assistance); Washington v.


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Hofbauer, 228 F.3d 689, 703-04 (6th Cir. 2000) (even where challenged omission was

strategic, reviewing court “cannot stop there, [but] … must also assess if this strategy

was constitutionally deficient”).

       Allegations of prosecutorial misconduct are mixed questions of fact and law that

we review de novo. Ferro v. Kerby, 39 F.3d 1462, 1473 (10th Cir. 1994). Ordinarily, a

prosecutor's misconduct will require reversal of a state court conviction only where the

misconduct sufficiently infected the trial so as to make it fundamentally unfair, and,

therefore, a denial of due process. Donnelly v. DeChristoforo, 416 U.S. 637 (1974).

Nonetheless, “when the impropriety complained of effectively deprived the defendant of

a specific constitutional right, a habeas claim may be established without requiring proof

that the entire trial was thereby rendered fundamentally unfair.” Mahorney v. Walllmani,

917 F.2d 469, 472 (10th Cir. 1990), citing DeChristoforo, 416 U.S. at 643. Inquiry into

the fundamental fairness of a trial requires us to examine the effect of any misconduct

within the context of the entire proceedings. DeChristoforo, 416 U.S. at 643. In order to

view any prosecutorial misconduct in context, “we look first at the strength of the

evidence against the defendant and decide whether the prosecutor's statements

plausibly could have tipped the scales in favor of the prosecution .... Ultimately, we must

consider the probable effect the prosecutor's [statements] would have on the jury's

ability to judge the evidence fairly.” Fero, 30 F.3d at 1474 (quotations omitted).



IV.  THE COLORADO COURTS’ DENIALS OF THE APPLICANT’S
CONSTITUTIONAL RIGHTS IS CONTRARY TO ESTABLISHED FEDERAL LAW OR
INVOLVES AN UNREASONABLE APPLICATION OF FEDERAL LAW

       Mr. Scaggs raises the following issues in this petition:



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      The Denver District Court and the Colorado Court of Appeals violated Mr.
Scaggs’ Constitutional Rights by not suppressing his custodial statements at the
police station.

       Miranda defines custodial interrogation as “questioning initiated by law

enforcement officers after a person has been taken into custody or otherwise deprived

of his freedom in any significant way.” Miranda v. Arizona, 384 U.S. 436,444 (1966).

The first step is determining whether there was an interrogation. Here, that issue is not

in dispute. The more difficult task is determining if Mr. Scaggs was “in custody.” It is not

disputed that the Miranda warnings were not given prior to the first interview. If Mr.

Scaggs was in custody during that interview, then the failure to give the warning must

result in the suppression of the statement. Mr. Scaggs contends that the state courts’

resolution of this factual issue of whether or not he was “in custody” was clearly

erroneous in light of the record.

       In Berkemer v. McCarty, 468 U.S. 420 (1984), the Court held that a routinetraffic

stop was non-custodial as it is “presumptively temporary and brief [and]circumstances

associated with a routine traffic stop are not such that a motorist feels completely at the

mercy of the police.”     Berkemer, 468 U.S. at 437.       The question is whether “the

suspect’s freedom of action has been curtailed to a degree associated with formal

arrest. Berkemer, 468 U.S. at 441 quoting California v. Beheler, 463 U.S. 1121, 1125

(1983) (per curiam). The standard is objective: would a reasonable person feel that he

is free to leave or otherwise end the encounter? Berkemer, supra. Thus, this Court

must examine the circumstances surrounding the interrogation, and determine whether

there existed a formal arrest on freedom of movement of the degree associated with a

formal arrest such that a reasonable person in the suspect’s position would would

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believe that his freedom of action had been curtailed to a degree associated with formal

arrest. Berkemer, supra. This is an objective test. The thequestion is not whether Mr.

Scaggs believed that his freedom had beensufficiently curtailed to a degree associated

with an arrest. Rather, the question iswhether a reasonable person would so believe.

Berkemer, supra.

       In J.D.B. v. N. Carolina, 131 S. Ct. 2394 (2011) the United States Supreme Court

stated that:

       we have required police officers and courts to examine all of the
       circumstances surrounding the interrogation, including any circumstance
       that would have affected how a reasonable person in the suspect’s
       position would perceive his or her freedom to leave. On the other hand,
       are the subjective views harbored by either the interrogating officers or the
       person being questioned.

Id., 131 S. Ct. at 2402 (quotations omitted). See also Yarborough v. Alvarado, 541 U.S.

652, 662–663 (2004); California v.Beheler, 463 U.S. at 1125, n. 3. Applying the law as

set forth above the only possible conclusion is that Mr.Scaggs was in custody.

       1) the time, place and purpose of the encounter. Mr. Scaggs was stopped on

the street during an investigation of a homicide. Five or six officers were present. After a

show-up, when the witness equivocally identified Mr. Scaggs, he was considered a

possible suspect and was handcuffed and his hands bagged to test for gunshot residue.

Some officers testified that Mr. Scaggs was handcuffed even before the show up. He

was then transported to police headquarters, kept in a secure room for six hours, and

interrogated in a small room. The police’s knowledge that a crime had been committed

was relevant, as it was apparent from the circumstances that the police had grounds to

arrest the defendant. See Stansbury v. California, 511 U.S. 318, 325 (1994).




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      2) The Officer’s words. When Mr. Scaggs indicated that he did not wish to talk

and wanted an attorney, he was told that because he was not under arrest he was not

entitled to an attorney. However, throughout the interview, it is clear that Mr. Scaggs

was a suspect (in fact he was identified by the surviving victim as possibly being the

shooter), he was asked repeatedly to explain where he was prior to being detained and

was asked if anyone made him any threats or promises in order to make a statement.

      3_)_the Officer’s tone of voice and demeanor. While the detective did not

raise his voice during the interview, it was clear that the detective believed Mr. Scaggs

was involved, pressed him for answers when he declined to talk, and told Mr. Scaggs if

he was not involved he would be willing to answer his questions.

      4)   the persons present.       The persons present were the detective andMr.

Scaggs. However, prior to the interrogation, five to six officers were present when Mr.

Scaggs was detained; after he was transported to police headquarters he was watched

first by one officer and then by another. The second officer stated he would not have

released Mr. Scaggs without the detective’s approval.

      5) the length or mood of the interrogation. While the interrogation itself was

brief, Mr. Scaggs was transported to the police station and kept in a secure area of the

police station for six hours beforehand.

      6) limitation of Mr. Scaggs’ movements. Mr. Scaggs was handcuffed,

transported to the police station, put in a secure area of the police station, and was

watched for the next six hours. He could not walk unescorted at the station; when it was

time for Mr. Scaggs to be interrogated, he was escorted from the third floor to the

second floor and turned over to the detectives.


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       7) the Officer’s response to questions. Contrary to the Denver Court’s view of

the interrogation, this was not a “give and take.” The detective asked questions, Mr.

Scaggs answered a few and then declined to answer and asked for an attorney, the

detective continued to ask questions and pressured him.

       8) whether directions were given to Mr. Scaggs. Mr. Scaggs was directed to

wait in the secured area of the police station until he was escorted tothe second floor to

be interviewed by the detective.

       9) Mr. Scaggs’ verbal or nonverbal response. Mr. Scaggs complied with the

directions. He respectfully declined to answer questions without an attorney and was

told he was not entitled to one.

       The Denver Court’s ruling that Mr. Scaggs was handcuffed for officer safety is

incorrect as the evidence indicates otherwise. Mr. Scaggs was not handcuffed during

the initial encounter when there was only one officer present or even when the other

officers initially arrived. To the contrary, he was not handcuffed until the witness made

the equivocal identification, and at that time Officer Salinas ordered that Mr. Scaggs be

handcuffed not for officer safety but because he was being detained for further

investigation into a homicide and in order to preserve evidence.       Even if the initial

encounter was a Terry stop, once the witness identified Mr. Scaggs as the potential

perpetrator, and Mr. Scaggs was then handcuffed and detained for further investigation,

he was in custody triggering the requirement for Miranda warnings. Despite Officer

Hancock’s testimony that he was unsure of whether Mr. Scaggs was handcuffed at the

time he first encountered him, the testimony of all of the other officers indicate that by

the time Officer Hancock made contact, Mr. Scaggs was already handcuffed and thus


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was already in custody.

       Because Mr. Scaggs was already in custody when Officer Hancock approached

him, the Officer should have read Mr. Scaggs his Miranda rights prior to talking to him,

and the failure to do so requires that all statements made thereafter must be

suppressed. Certainly Mr. Scaggs was in custody (and had been for six hours) when he

was interviewed by Detective Campbell and prior tocommencing that interview, the

detective should have read Mr. Scaggs his rightsunder Miranda and should have

obtained a waiver before interrogating him. Failure to do so violated Mr. Scaggs’ under

the United States Constitution. U.S. Const., Amend. V, VI, XIV.

       The Denver court’s reliance on the fact that Mr. Scaggs understood he was not

under arrest was misplaced. The issue is not whether Mr. Scaggs was under arrest, but

whether he was “deprived of his freedom of action in a significant way at the time of

questioning.”   Berkemer v. McCarty, supra; Oregon v. Mathiason, 429 U.S. 492

(1977)(per curiam); Miranda, supra.       A reasonable person in Mr. Scaggs’ situation

would have believed himself to be deprived of his freedom to the degree associated

with formal arrest.

       The Denver court was also wrong to focus on Mr. Scaggs’ subjective beliefs. An

individual’s specific beliefs do not control. In J.D.B. v. N. Carolina, the Supreme Court

held that such things as prior involvement with the justice system have been held to be

irrelevant in determining an individual’s custodial status:

       because such experience could just as easily lead a reasonable person to
       feel free to walk away as to feel compelled to stay in place. Because the
       effect in any given case would be contingent on the psychology of the
       individual suspect, the Court explained, such experience cannot be
       considered without compromising the objective nature of the custody
       analysis.

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J.D.B. v. N. Carolina, 131 S.Ct. at 2404 (internal citations omitted).

          The burden is on the government to show beyond a reasonable doubt that the

trial error did not contribute to the conviction. Arizona v. Fulminante, 499 U.S. 279, 307-

08 (1991); Chapman v. California, 386 U.S. 18, 21-22 (1967). Here, in light of the other

evidence, there is a reasonable probability that Mr. Scaggs could have been prejudiced;

thus, the error is not harmless.      The prosecutor, in closing arguments, played the

interrogation again for the jury, and asked the jury to compare the statements made to

the alibi testimony presented – specifically highlighting that Mr. Scaggs’ statements did

not include any mention of an alibi. He did not say that he was working until 8:00 p.m.

or that he went to Stephanie Morton’s house, etc. The prosecutor brought this subject

up again during the rebuttal closing argument and asks the jury to listen to the interview

that he gave to Detective Ty Campbell.

          The inadmissible evidence not only substantially influenced the verdict, it also

affected the fairness of the trial.    The prosecutor clearly thought that Mr. Scaggs’

statements amounted to a confession and asked the jury to accept them as such. Once

it came in, Mr. Scaggs had no alternative but to testify and therefore otherwise

inadmissible evidence (a prior robbery conviction, prior incarceration, prior arrests, and

gang membership) was brought before the jury through the questions and answers in

the interrogation. The admission of the statements was prejudicial, and violated Mr.

Scaggs’ rights under U.S. Const., Amend. V, VI and XIV. Thus the Colorado Courts

obtained and affirmed Mr. Scaggs’ convictions in violation of his federal constitutional

rights.

          At a minimum, the Denver court should have redacted the interview to remove

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Mr. Scaggs’ repeated requests for an attorney. The argument that if Mr. Scaggs were

“truly innocent” he would have freely answered all questions put to him or would not

have requested an attorney is contrary to federal law. See, United States v. Hale, 422

U.S. 171, 177 (1975).


       The Colorado Courts violated Mr. Scaggs’ federal constitutional rights by
failing to suppress the suggestive photo array and subsequent identification of
Mr. Scaggs.

       The primary evil caused by a suggestive confrontation can be a very substantial

likelihood of irreparable misidentification. Neil v. Biggers, 409 U.S. 188, 198 (1972). In

Neil v. Biggers, the Court first established the factors to consider in determining whether

the subsequent identification was a result of the prior suggestive identification or had an

independent basis: opportunity to view the criminal, the witness’ degree of attention and

accuracy of prior description, the length of time that has passed, and – very importantly

– the level of certainty demonstrated by the witness at the confrontation. Id., at 199-

200.

       The Denver court unreasonably discounted J.R.’s level of uncertainty aboutthe

identification. At the show up he said only that Scaggs looked more like therobber than

the other two suspects he was shown. This is not a definitive identification.    Here J.R.

was uncertain both at the show up and after the array. It was not until trial that J.R.

became “certain.” Because of the uncertainty in the second identification even after the

suggestive nature of the first identification, the Denver court should have suppressed

the second identification.

       Forty years ago, the U.S. Court of Appeals for the Second Circuit recognized that

identification testimony is notably fallible and can result in the greatest single injustice

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that can arise out of our system of criminal law,..., the conviction of the wrong man

through a mistake in identity. United States v. Evans, 484 F.2d 1178, 1187 (2d Cir.

1973). See also State v. Dubose, 699 N.W.2d 582, 591-594 (Wisc. 2005); See Nancy

Steblay et al., Eyewitness Accuracy Rates in Police Showup and Lineup Presentations:

A Meta-Analytic Comparison, 27 L. & Human Behav. 523 (2003); Winn Collins,

Improving Eyewitness Evidence Collection Procedures in Wisconsin, 2003 Wis.L.Rev.

529; Gary Wells & Elizabeth Olson, Eyewitness Testimony, 54 Ann. Rev.Psychol. 277

(2003); Tiffany Hinz & Kathy Pezdek, The Effect of Exposure to Multiple Lineups on

Face Identification Accuracy, 25 L. & Human Behav. 185(2001); U.S. Department of

Justice, Eyewitness Evidence: A Guide for Law Enforcement (1999), available at http://

www.ncJ.R. s.org/pdffiles1/nij/178240.pdf; Gary Wells & Amy Bradfield Good, You

Identified theSuspect:    Feedback to Eyewitnesses Distorts Their Reports of the

Witnessing Experience, 83 J. Appl. Psych. 360 (1998); Gary L. Wells et al., Eyewitness

Identification Procedures: Recommendations for Lineups and Photospreads, 22L. &

Human Behav. 603 (1998); U.S. DOJ, Convicted by Juries, Exonerated b yScience:

Case Studies in the Use of DNA Evidence to Establish Innocence After Trial, (1996),

available at http://www.ncJ.R. s.org/pdffiles/ dnaevid.pdf.

       J.R. was shown Mr. Scaggs in ashowup the evening before, and then was shown

one photo array with Mr. Scaggsand five fillers and asked to make an identification. He

then reaffirmed his previous equivocal identification. When this is coupled with the fact

that the initial identification procedure was a show up, this Court should view with great

skepticism the reliability of any future identification made by the witness. Studies have

questioned the reliability of showups under exactly thesecircumstances. Photo showups


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occurring two hours or more after the encounterare notoriously unreliable. One study

found that two hours after the encounter,58% of witnesses failed to reject an “innocent

suspect” in a photo showup. A.Daniel Yarmey et al., Accuracy of Eyewitness

Identifications in Showups and Lineups, 20 Law & Hum. Behav. 459, 464 (1996).


       Ineffective Assistance of Trial and Appellate Counsel

       In Strickland v. Washington, 466 U.S. 668 (1984), the United States Supreme

Court outlined the standards for evaluating a claim that a criminal conviction violated an

accused’s right to effective assistance of counsel. The Court held that any such claim

must satisfy two components: first, defense counsel's performance must have been

constitutionally deficient; and second, the deficient performance must have prejudiced

the defense of the case. Id. at 687.   While an ineffective-assistance claim involves an

inquiry into matters of historical fact, the proper resolution of both the performance and

prejudice components of the claim is a mixed question of fact and law. Id. at 698.


       The prejudice component of an ineffective-assistance claim requires the

defendant affirmatively to prove prejudice. Id. at 693.    While this requirement means

that the defendant must establish more than the mere possibility that counsel's errors

affected the outcome of the proceeding, it does not require the defendant to prove that

counsel's errors “more likely than not altered the outcome in the case.” Id.


       Instead, the prejudice component requires the defendant to prove that “there is a

reasonable probability that, but for counsel's unprofessional errors, the result of the

proceeding would have been different.” Id. at 694. A reasonable probability, in this




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sense, is “a probability sufficient to undermine confidence in the outcome” of the

proceeding. Id.


       In Strickland, the Court held that “strategic choices made after thorough

investigation of law and facts relevant to plausible options are virtually unchallengeable;

and strategic choices made after less than complete investigation are reasonable

precisely to the extent that reasonable professional judgments support the limitation on

investigation.” Strickland, 466 U.S. at 690-91 (emphasis supplied).

       “Consequently, even where an attorney pursued a particular course of action for

strategic reasons, courts still consider whether that course of action was objectively

reasonable, notwithstanding Strickland’s strong presumption in favor of upholding

strategic decisions.” Bullock v. Carver, 297 F.3d 1036 (10th Cir. 2002). See also Fisher

v. Gibson, 282 F.3d 1283, 1296 (10th Cir. 2002) (“mere incantation of ‘strategy’ does not

insulate attorney behavior from review”); Phoenix v. Matesanz, 233 F.3d 77, 82 n.2 (1st

Cir. 2000) (“‘virtually unchallengeable’ does differ from ‘unchallengeable,’” and test is

whether challenged acts or omissions were outside range of competent assistance);

Washington v. Hofbauer, 228 F.3d 689, 703-04 (6th Cir. 2000) (even where challenged

omission was strategic, reviewing court “cannot stop there, [but] … must also assess if

this strategy was constitutionally deficient”).

       In order to adequately represent a criminal defendant, a lawyer must understand

the law and thoroughly investigate the facts and the law. People v. White, 421, 514

P.2d 69, 71 (Colo. 1973). “Justice cannot be the product of our courts under an

adversary system if defense counsel fails to serve as an advocate who is competent

and well prepared to represent his client." “White, 514 P.2d at 72; citing American Bar


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Association Standards for Criminal Justice Relating to The Defense Function §§ 1.1(a)

and 1.1(b).


      Although there is a “strong presumption that counsel's conduct falls within the

wide range of reasonable professional assistance,” and “[j]udicial scrutiny of counsel's

performance must be highly deferential,” Strickland, 466 U.S. at 689, defense counsel

must, “at a minimum, conduct a reasonable investigation enabling him to make informed

decisions about how best to represent his client,” Sanders v. Ratelle, 21 F.3d 1446,

1456 (9th Cir.1994) (emphasis in original); see also Jennings v. Woodford, 290 F.3d

1006, 1013 (9th Cir.2002).


      A strategic determination of whether to call a particular witness is generally a

matter within trial counsel’s discretion. See Davis v. People, 871 P.2d 769, 773 (Colo.

1994). However, “the consequences of inattention rather than reasoned strategic

decisions are not entitled to the presumption of reasonableness.” Mosely v. Atchison,

689 F.3d 838, 848 (7th Cir. 2012) (citing Rompilla v. Beard, 545 U.S. 374, 395-96

(2005), and Wiggins v. Smith, 539 U.S. 510, 533-34 (2003)).


      Counsel “has a duty to make reasonable investigations or to make a reasonable

decision that makes particular investigations unnecessary.” Strickland, 466 U.S. at 691.

The failure to investigate is especially egregious when a defense attorney fails to

consider potentially exculpatory evidence. See Lord v. Wood, 184 F.3d 1083, 1093 (9th

Cir.1999) (“A lawyer who fails adequately to investigate, and to introduce into evidence,

information that demonstrates his client's factual innocence, or that raises sufficient




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doubts as to that question to undermine confidence in the verdict, renders deficient

performance.”).


      The district court erred by denying Mr. Quent Scaggs’ Rule 35(c) motion for

postconviction relief following an evidentiary hearing. At the postconviction evidentiary

hearing, sufficient evidence was presented to establish that trial counsel provided

ineffective assistance of counsel resulting in prejudice. Specifically, trial counsel

provided deficient performance by failing to investigate available witnesses Ms. Caroline

Herrera, and Mr. Christopher Carter. They both held critical exculpatory evidence which

should have been introduced to the jury. Trial counsel had a duty to investigate potential

leads on evidence, and the failure to do so here, fell beneath the applicable standard of

care. In one instance, Ms. Herrera was mentioned during a conversation with Defense

Investigator Tinnes, in another instance, Mr. Carter walked right up to defense counsel,

introduced himself, and informed counsel that he had information about the case that he

wished to discuss. Trial Counsel’s failure to investigate, interview, and follow up with

the potential witnesses was objectively unreasonable. Furthermore, Mr. Scaggs wass

prejudiced by the deficient investigation of trial counsel. Absent the deficient

performance of trial counsel, effective counsel would have interviewed Mr. Chris Carter

and Ms. Caroline Herrera, and consequently presented evidence that Dontai Carter took

Mr. Scaggs’ red shirt, that he admitted to the shooting, and that he was seen with a

body in a car, and there remains a reasonable probability, that had this information been

presented during trial, reasonable doubt would have been formed in the minds of the

jury, and the result of the proceedings would have been different. The evidence

presented at the post conviction evidentiary hearing sufficiently undermined the


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confidence in the outcome of the trial proceedings to merit post conviction relief.

Therefore, the conviction was obtained in violation of Mr. Scaggs’ constitutional right to

effective assistance of counsel.


     At the postconviction evidentiary hearing, Ms. Caroline Herrera provided testimony

to the court regarding the raised postconviction allegations. Ms. Herrera testified that

she knew Mr. Scaggs, and that he was going to live with her and her boyfriend in the

Park Hill area, but probation would not allow him to stay in the Park Hill neighborhood.

Mr. Scaggs stayed at Caroline’s house a couple of days helping her move, and when he

left, he left a bag of cloths at her home. Ms. Herrera further testified that people would

often come over to her home and hang out; one person that frequented the house was

Dontai Carter. She recalled that one day, Dontai Carter walked into her home looking

for her boyfriend, who was not there, and then walked into the second bedroom which

contained Mr. Scaggs bag of cloths, grabbed a red long sleeve shirt, and walked out.


     Next, she recalled that a few days following the death of A.G., Carter again went

back to the apartment and spoke with Ms. Herrera, looking for her boyfriend, who was

not there. This time, while speaking with Ms. Herrera, Carter said, “he did something

very bad,” and that the police had “the wrong guy.” Ms. Herrera believed that Carter

was talking about the murder of A.G. Ms. Herrera did not come forward with the

information because she was afraid that she would be harmed if she did. “I just didn't

want to put me and my family in that.” Eventually, in May of 2010, Ms. Herrera wrote a

letter to the courts explaining that she believed that Mr. Scaggs was wrongly convicted.

Ms. Herrera felt that if she had come forth with the information, she “probably would not

be sitting here today.” Ms. Herrera did not believe Mr. Scaggs was guilty of murder.

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     Mr. Chris Carter testified that on October 30, 2008, he met up with Dontai Carter in

a dark alley to buy some ecstasy. Mr. Carter thought Dontai Carter was acting very

strange – “He was more than excited. The man had his shirt off.” When Mr. Chris

Carter met up with Dontai Carter in the alleyway, Dontai told him to get out of there.

Then Dontai blurted out, “I had to shoot this Mexican that was in the car.” Mr. Carter

believed that Dontai Carter was joking, but then he saw him “moving someone and he

was slumped over in the front of a vehicle,” and then he left. Mr. Chris Carter did not

come forward with the information to the authorities out of fear for his personal safety.

However, he did later come forward with his information. He walked up to Mr. Scaggs’

second chair counsel, Ms. Lucy Martin, at the Denver District Court House, and told her

that he wished to speak with her because he had information regarding Mr. Scaggs’

case. He did not go into detail, but provided his contact information Ms. Martin. (Id. at p.

32:2-10). However, Mr. Carter was not contacted by trial counsel. Id.


     Second chair trial counsel, Ms. Lucy Martin, provided testimony to the district court

and her testimony supported the statements of Mr. Chris Carter.           She stated that

sometime in August or September of 2009, while at the Denver District Courthouse, she

was approached by a young, good sized, African American male, who said he had

information regarding Mr. Scaggs’ case that he wanted to discuss. She did not recall

the exchange very clearly, but believed the person who contacted her was Mr. Chris

Carter. She recalled being very busy at the time, and that Mr. Carter did not explicitly

inform her that he had exculpatory evidence regarding the case. Ms. Martin did not

interview Mr. Carter at this time, and had no specific recollection of exchanging contact

information, but testified that her habit would have been to provide a business card to a


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person wishing to discuss the particulars of a case. Ms. Martin did not follow up with

an interview or phone call. (Id. at p. 57:2-3).


     Defense investigator Terrance Tinnes testified that when he tried to interview

Dontai Carter, but he refused to speak with him. Mr. Tinnes further stated that he did

not make efforts to further investigate the matter because it is his practice to not press

for information after participation has been refused.     Further, he did not attempt to

contact Caroline Herrera, but recalled that when he initially met with Mr. Scaggs, he did

mention Caroline Herrera, but not Mr. Chris Carter. He testified that he recalled Ms.

Herrera being mentioned his first meeting with Mr. Scaggs, and considering such,

counsel was deficient in failing to have Ms. Herrera interviewed as well.


     Sergeant Mickey Horton testified that Mr. Scaggs is a gang member. He further

testified that it is possible for some people to make it out of the gang lifestyle, and that

sometimes gang members can be afraid of other gang members within the gang, and

turn on one another.


     First chair trial counsel, Mr. Demetria Trujillo testified that initially Dontai Carter

was a viable alternate suspect. Mr. Carter lived in the general area, was arrested by the

police, in the general area shortly after the incident, and witness identification indicated

that the shooter could have been Dontai Carter. Mr. Trujillo went on to testify that part

of the reason he did not pursue Dontai Carter as an alternate suspect was because the

DNA evidence produced was not helpful, and other than proximity to the incident, he

could not link Dontai Carter to the forensic evidence. The DNA evidence produced was

from a red shirt found at the scene, and it contained mixtures of Mr. Scaggs and A.G.’s


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genetic material. He did not request that Mr. Tinnes make any further efforts to contact

Dontai Carter after he refused participate with the first interview. He further stated that

Mr. Scaggs did not provide him with the information for Ms. Caroline Herrera or Mr.

Chris Carter, as a potential defense witnesses.


     Mr. Trujillo testified that he did not canvas the 3600 block of Leyden Street, nor did

he request Investigator Tinnes to canvas the block either. He did not follow up with an

investigation of Dontai Carter’s girlfriend, or make efforts to confirm that he was working

at the drycleaners that day as stated. He testified that Mr. Chris Carter did not contact

him, and that had Ms. Martin told him about Mr. Carter, he would have ensured that she

follow up with him regarding the information he had about the case.


     Trial counsel failed in their duty to conduct a sufficient pretrial investigation into

potential witnesses and defenses. The exculpatory evidence which showed that Dontai

Carter took the red shirt from Ms. Herrera’s home, which contained DNA evidence of

Ms. Scaggs, should have been introduced to the jury, as it provided an explanation as

to why his DNA was at the scene. Further, the statements made to Ms. Herrera by

Dontai Carter about doing something bad, and having the wrong guy, would have been

substantially compelling towards establishing an alternate suspect defense. Moreover,

the testimony from Chris Carter which identified Dontai Carter at the scene, later in the

evening, without his shirt, admitting to shooting a person in the car beside them, was

critical towards presenting a complete and effective defense.


     Trial Defense counsels’ failure to investigate Ms. Herrera and Mr. Chris Cater fell

beneath the applicable standard required of criminal defense attorney’s practicing in


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Colorado, and as such, these failures amount to deficient performance. Thus, the record

does not support the findings of the district court, and the denial of Mr. Scaggs’ Rule

35(c) motion was error since his conviction was obtained in violation of his Sixth

Amendment right to effective assistance of counsel.


                                    CONCLUSION

        For the reasons set forth above, Mr. Scaggs respectfully asks this Court to grant

his application and order the Respondents to release or retry him.



Dated: July 12, 2018

                                                Respectfully Submitted,

                                                 s/ Alison L. Ruttenberg
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                             CERTIFICATE OF SERVICE


      I hereby certify that on July 12, 2018, I served true copies of the foregoing

Amended Petition for Writ of Habeas Corpus, by U.S. mail, postage prepaid, on

Colorado Attorney General Cynthia Coffman, 1300 Broadway 10th Floor, Denver,

Colorado 80203



                                                 s/ Alison Ruttenberg


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